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          EXHIBIT A
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                                                    SIDLEY AUSTIN LLP
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                                                                           October 7, 2022


By Hand Delivery

Telnyx LLC
c/o InCorp Services, Inc.
901 South 2nd Street, Suite 201
Springfield, IL 62704

311 W Superior Street, Suite 504
Chicago, IL 60654

       Re:            Core Communications, Inc., et al. v. AT&T Corp., No. 2:21-cv-02771-JDW (E.D.
                      Pa.), Subpoena to Produce Documents, Information, or Objects in a Civil Action

To Whom It May Concern:

       Attached is a subpoena issued by AT&T Corp. (“AT&T”), in a case entitled Core
Communications, Inc., et al. v. AT&T Corp., No. 2:21-cv-02771-JDW, pending in the United
States District Court for the Eastern District of Pennsylvania.

        AT&T is issuing this subpoena because Core Communications, Inc., Coretel Delaware,
Inc., Coretel New Jersey, Inc., Coretel Virginia, LLC and Coretel West Virginia, Inc.
(collectively, “Core”) identified your company as one of a number of call providers that
delivered toll-free telephone traffic to Core, which ultimately routed the traffic to AT&T.

        In order to resolve Core’s claims and AT&T’s defenses, the subpoena asks for a number
of documents, including documents regarding the routing of the calls and the steps that your
company may have taken to address auto-dialed and/or “spoofed” traffic. We have served
similar requests to other companies, and in response to some requests, those companies provided
a written response that could substitute for the provision of some documents. We are willing to
work with you regarding the scope of your response, and we look forward to hearing from you.
Thank you for your attention to this matter.




      Sidley Austin (DC) LLP is a Delaware limited liability partnership doing business as Sidley Austin LLP and practicing in affiliation with other Sidley Austin partnerships.
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                                         Sincerely,



                                            /s/ Michael J. Hunseder
                                         Michael J. Hunseder
                                         Counsel for AT&T Corp.

Enclosures
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Eastern District
                                                       __________        of Pennsylvania
                                                                   District  of __________
              Core Communications, Inc., et al
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:21-cv-02771-JDW
                           AT&T Corp.                                         )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                                        Telnyx LLC

                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Exhibit A



 Place: Sidley Austin LLP, c/o Angela C. Zambrano, One South                            Date and Time:
          Dearborn, Chicago, IL 60603                                                                        11/04/2022 5:00 pm

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/07/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                 /s/ Angela C. Zambrano
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
AT&T Corp.                                                              , who issues or requests this subpoena, are:
Angela C. Zambrano (angela.zambrano@sidley.com and ddaggubati@sidley.com); Sidley Austin LLP, 2021 McKinney
Avenue, Suite 2000, Dallas, TX 75201; Tel: (214) 981-3405
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:21-cv-02771-JDW

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                            EXHIBIT A

                                          DEFINITIONS

       1.      “Telnyx LLC,” “You,” and “Your” refer individually and collectively to Telnyx

LLC and its predecessors, successors, subsidiaries, parents, affiliates, employees, and agents.

       2.      “Core” refers collectively to Plaintiffs Core Communications, Inc., CoreTel

Delaware, Inc., CoreTel New Jersey, Inc., CoreTel Virginia, LLC, and CoreTel West Virginia,

Inc., together with their predecessors, successors, subsidiaries, parents, affiliates, employees, and

agents. The term “Core” also includes the entity known as Ton80, including Ton80’s predecessors,

successors, subsidiaries, parents, affiliates, employees, and agents.

       3.      “AT&T” refers collectively to Defendant AT&T Corp. and its predecessors,

successors, subsidiaries, parents, affiliates, employees, and agents.

       4.      “Person” shall mean an individual, corporation, firm, proprietorship, partnership,

association, joint venture, or other legal, business, or governmental entity, whether foreign or

domestic.

       5.      “Identify” when used in reference to a natural person or other legal entity shall

mean: (i) state the full name; (ii) state the present or last known business address, and, in the case

of a natural person, residence address; (iii) state the present or last known business telephone

number, and, in the case of a natural person, residence telephone number; and (iv) state the

person’s present or last known position, employer, and primary line of business.

       6.      “Identify” when used in reference to an action, event, or occurrence, including a

communication, meeting, or statement, shall mean: (i) state the date of the action, event, or

occurrence; (ii) state the nature of the action, event, or occurrence; (iii) state the location of the

action, event, or occurrence; (iv) identify every participant in and witness to the action, event, or



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occurrence; and (v) describe the action, event, or occurrence and, if it was a meeting,

communication, or statement, state the substance of the matters communicated or discussed.

        7.      “Communication” or “communications” means communication(s) of every form

and manner by which information may be transmitted or received, whether written, oral, or

otherwise.

        8.      “Document” or “documents” is intended to have the broadest possible meaning

permitted under the Federal Rules of Civil Procedure. A draft or non-identical copy is a separate

document within the meaning of this term.

        9.      The terms “relating to” or “relate to” shall mean to constitute, discuss, disclose,

support, confirm, describe, reflect, identify, deal with, consist of, refer to, establish, list, evidence,

substantiate, or in any way pertain, in whole or in part, to the subject.

        10.     The term “Agreement” shall mean any oral or written document, understanding,

contract, or amendment, whether express or implied, between You and Core and/or You and a

Core affiliate, including but not limited to Ton80, that relates to the subject.

        11.     “8YY Traffic” refers to calls dialed to telephone numbers beginning with toll free

area codes established by the Federal Communications Commission including, but not limited to,

1-800, 1-855, 1-866, 1-877, and 1-888.

        12.     “Facilities-Based VoIP” means a Voice over Internet Protocol service in which the

VoIP provider owns or leases the last-mile physical infrastructure connecting directly to

subscribers’ homes and offices.

        13.     The term “Over-the-top VoIP” means a Voice over Internet Protocol service in

which the VoIP provider does not own or lease the physical infrastructure connecting directly to




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subscribers’ homes and offices, and instead connects to its end-user subscribers over internet

service they have obtained from a third-party provider.

       14.     The term “VoIP Partner” refers to any entity that is not a local exchange carrier for

which Core billed AT&T access services for functions performed by that entity. For avoidance of

doubt, the term “VoIP partner” includes the affiliated or unaffiliated providers of interconnected

VoIP service or a non-interconnected VoIP service referred to in 47 C.F.R. § 51.913(b).

       15.     The term “illegal traffic” is used interchangeably with the term “illegal calls” and

these terms are defined as any calls or traffic that violate: (1) the requirements of the Telephone

Consumer Protection Act of 1991 or the Truth in Caller ID Act of 2009; (2) the related regulations

of the Federal Communications Commission implementing the Telephone Consumer Protection

Act or the Truth in Caller ID Act; (3) the Federal Trade Commission’s Telemarketing Sales Rule;

or (4) any federal or state law or regulation that prohibits calls made for the purpose of defrauding

a consumer.

       16.     The term “toll free traffic pumping” (also known as “robocalling”) means a practice

that occurs when an entity (a) enters into an agreement with another entity to route 8YY traffic to

a local exchange carrier and then (b) uses auto-dialing equipment or routes calls placed using auto-

dialing equipment to generate 8YY traffic that the local exchange carrier passes on to an

interexchange carrier for payment of access charges. It includes but is not limited to the traffic

referred to the Federal Communications Commission in paragraph 17 of its Report and Order

entitled 8YY Access Charge Reform, WC Docket No. 18-156, 35 FCC Rcd 11594 (2020).




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                                  DOCUMENTS TO PRODUCE

        1.      All documents relating to 8YY traffic You routed to Core, including but not limited

to communications between You and Core relating to 8YY traffic.

        2.      All written or oral contracts or Agreements regarding 8YY traffic that You routed

to Core, including but not limited to Agreements between You and Core.

        3.      All invoices between You and Core, and/or any other notices of amounts owed by

Core to You or You to Core, that relate to 8YY traffic.

        4.      All communications between You and any Person that was the source of any 8YY

Traffic that You sold to Core, regarding (a) Core; (b) their Agreements and/or contracts with You

or Core; (c) payments to or from You or Core; (d) 8YY Traffic; (e) complaints of fraudulent traffic;

or (f) fluctuations in the volume of 8YY Traffic.

        5.      Documents sufficient to show all payments You made to, and all payments You

received from, each Person that was the source of 8YY Traffic that You routed to Core.

        6.      Documents sufficient to show all payments You made to, and all payments You

received from, Core that related to 8YY Traffic that You routed to Core.

        7.      All documents relating to how the 8YY traffic You routed to Core is originated,

including whether You or some other entity provide the physical connection to the last-mile

facilities used to serve the end user (i.e., the calling party on 8YY traffic).

        8.      Documents sufficient to show the identity of each of the entities that were the

sources of any 8YY Traffic that You routed to Core, including for each entity, the number of

minutes.

        9.      Documents sufficient to show the manner in which You market or advertise Your

services to the source of the 8YY Traffic that You sold to Core, including but not limited to any

sales manuals or pre-approved service Agreement forms that You received from Core.
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       10.     Documents relating to any assessment or analysis You have undertaken of the 8YY

Traffic You routed to Core to determine whether any of that 8YY Traffic was autodialed, was

illegal traffic, was the result of toll free traffic pumping, involved “spoofed” or manipulated calling

party information, and/or originated outside of the United States.

       11.     Documents sufficient to identify any and all entities that You have ceased doing

business with based on the results of the assessments or analyses identified in response to

Document Request No. 10.

       12.     Documents containing or referencing communications between You and the

Federal Bureau of Investigation or the Federal Communications Commission relating to alleged

or established toll free traffic pumping, autodialed 8YY Traffic, spoofing of calls, or traffic

originating outside of the United States.

       13.     Documents sufficient to identify Your efforts, if any, to ensure that the 8YY Traffic

that You routed to Core did not include calls that were autodialed and/or involved spoofed or

manipulated calling party information and/or originated outside of the United States, including the

effectiveness of any such efforts.

       14.     Documents sufficient to identify the percentage of the 8YY Traffic that You sold

to Core that originated outside of the United States.

       15.     Documents sufficient to show all payments You made and/or received as part of

the purchase or sale of any 8YY Traffic minutes that You sold to Core. For the avoidance of any

doubt, this request encompasses any such payments in any direction between You and any Core

entity and/or between You and any non-Core entity.




                                                  5
